                Exhibit A




Case 2:17-cv-00869-JPS Filed 06/22/17 Page 1 of 53 Document 1-1
                                                                                    11CV003823
    STATE OF WISCONSIN                      CIRCUIT COURT                  MILWAUKEE COUNTY

    ADAM J. V ARE LAS and
    MICHELLE V ARELAS                                              Case No.
    23 5 W. Armour Ave.
    Milwaukee, WI 53207                                            SUMMONS

                       Plaintiffs,                                 Personal Injury-Other: 30107

              vs.                                                  AMOUNT CLAIMED GREATER
                                                                       THAN $5,000.00
    CROWN EQUIPMENT CORPORATION
    a foreign corporation                                                                                  MAY 0 9 Z017
    c/o CT Corporation System
    8020 Excelsior Dr. , Ste. 200                                                           JURY DEMAND FEE 12
    Madison, WI 53717                                                                       PERSON $72.00 PAID

    ABC INSURANCE COMPANY
    a fictitious corporation,
                                                                           HON. WlLUAM SOSNAV, BR. 8
                                                                                        ClVlLJ

[   CROWN LIFT TRUCKS
    5150 S. Towne Di.
    New Berlin, WI 53151                                                          FILED AND
                                                                               AUTH!=~lTir.ATEO
    DEF INSURANCE COMPANY
    a fictitious corporation,                                          0      [ MAY 0 20179         J0
    ILLINOIS NATIONAL INSURANCE COMPANY                                         JO~N ~AiiH     rf
    a Wisconsin corporation                                                   Ql~rk of Circuit Cg~rt
    c/o Corporation System, Inc., Registered Agent
                                                                                                       -
    8040 Excelsior Dr., Ste. 400
    Madison, WI 53717

                       Defendants.


    THE STATE OF WISCONSIN
    TO EACH PERSON NAMED ABOVE AS A DEFENDANT:

              You are hereby notified that the plaintiffs named above have filed a lawsuit or other legal
    action against you. The Complaint, which is attached, states the nature and basis of the legal
    action.    Within fmiy-five (45) days after receiving this Summons, you must respond to the
    Complaint with a written Answer, as that te1m is used in Chapter 802 of the Wisconsin Statutes.
    The Court may reject or disregard an Answer that does not follow the requirements of the statutes.




                    Case 2:17-cv-00869-JPS Filed 06/22/17 Page 2 of 53 Document 1-1
The Answer must be sent or delivered to the Comi, whose address is 901 Nmih Ninth Street,
Milwaukee, Wisconsin, 53233, and to Habush Habush & Rottier S.C.®, whose address is 777 East
Wisconsin Avenue, Suite 2300, Milwaukee, Wisconsin, 53202.
       If you do not provide a proper Answer within fmiy-five (45) days, the Comi may grant
judgment against you for the award of money or other legal action in the Complaint, and you may
lose your right to object to anything that is or may be incoiTect in the Complaint. A judgment may
be enforced as provided by law. A judgment awarding money may become a lien against any real
estate you own now or in the future, and may also be enforced by gamishment or seizure of

prope1iy.                                     ~~tb
       Dated at Milwaukee, Wisconsin, this'~        day of _   _,_---t-:::::....::C""'J----'   2017.




                                     By:


                                             ttrecek@habush. com


P.O. ADDRESS:

US Bank Building, Suite 2300
777 East Wisconsin Avenue
Milwaukee, WI 53202
(414) 271-0900




                                                2



            Case 2:17-cv-00869-JPS Filed 06/22/17 Page 3 of 53 Document 1-1
                                                                                17CV003823
STATE OF WISCONSIN                 CIRCUIT COURT               MILWAUKEE COUNTY

ADAM J. VARELAS and
MICHELLE V ARELAS                                       Case No.
235 W. Almour Ave.
Milwaukee, WI 53207                                     COMPLAINT

                Plaintiffs,                             Personal Injury-Other: 30107

       vs.                                              AMOUNT CLAIMED GREATER
                                                            THAN $5,000.00
CROWN EQUIPMENT CORPORATION
a foreign corporation
c/o CT Corporation System
8020 Excelsior Dr., Ste. 200
Madison, WI 53717

ABC INSURANCE COMPANY
a fictitious corporation,

CROWN LIFT TRUCKS
5150 S. Towne Dr.
New Berlin, WI 53151

DEF INSURANCE COMPANY
a fictitious corporation,                                                  FILED AND
                                                                        AIITI.lt:PIITir.HI=O
ILLINOIS NATIONAL INSURANCE COMPANY
a Wisconsin corporation
c/o Corporation System, Inc., Registered Agent
8040 Excelsior Dr., Ste. 400
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                                                                         MAY 0 9 2017
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                                                                                                J0
Madison, WI 53717                                              _    Cl~rk nf Circuit Court-2..;;;;--J
                Defendants.


       The above named plaintiffs by HABUSH HABUSH & ROTTlER S.C.®, their attomeys,

as and for a Complaint against the above named defendants, alleges and shows to the Comi as

follows:




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                              GENERAL ALLEGATIONS APPLICABLE
                                TO ALL CLAIMS FOR DAMAGES

        1.      At the present time, the plaintiffs, Adam J. Varelas and Michelle Varelas, are

citizens and residents of the State ofWisconsin residing at 235 W. Annour Avenue, Milwaukee,

Wisconsin 53207 and are husband and wife.

        2.      At the present time, the defendant, Crown Equipment Corporation (hereinafter

"Crown Equipment") is a foreign corporation with offices of its Registered Agent, CT Corporation

System, at 8020 Excelsior Dr., Ste. 200, Madison, Wisconsin 53717. On infonnation and belief,

Crown Equipment Corporation is in the business of designing, testing, manufactming, marketing,

distributing and selling stand-up forklifts.

        3.      On infonnation and belief, an unknown insurance company, herein designated

pursuant to Wis. Stat. §807.12 by the fictitious name of ABC Insurance Company, had issued a

policy of insurance to Crown Equipment, which policy provided coverage to Crown Equipment

for claims such as those hereinafter set fmih in this Complaint and which policy of insurance was

in full force and effect at the time of the hereinafter described matter; in the contract of insurance,

this defendant insurance company reserved the right to settle or adjust any claims arising

thereunder and to defend any lawsuits instituted by virtue of any such claims; by vitiue of this

contract of insurance, this defendant insurance company is a proper patiy defendant herein.

       4.       At the present time, the defendant, Crown Lift Tmcks, is a branch of Crown

Equipment with its principal place of business located at 5150 S. Towne Dr., New Berlin,

Wisconsin 53151. On information and belief, Crown Lift Tmcks is in the business of selling and

servicing Crown forklifts, and its parts and accessories, including the subject RC series forklift.




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             Case 2:17-cv-00869-JPS Filed 06/22/17 Page 5 of 53 Document 1-1
        5.      On infonnation and belief, an unknown insurance company, herein designated

pursuant to Wis. Stat. §807.12 by the fictitious name of DEF Insurance Company, had issued a

policy of insurance to Crown Lift Trucks, which policy provided coverage to Crown Lift Trucks

for claims such as those hereinafter set f01ih in this Complaint and which policy of insurance was

in full force and effect at the time of the hereinafter described matter; in the contract of insurance,

this defendant insurance company reserved the right to settle or adjust any claims arising

thereunder and to defend any lawsuits instituted by vitiue of any such claims; by vitiue of this

contract of insurance, this defendant insurance company is a proper pmiy defendant herein.

       6.       At the present time, the defendant, Illinois National Insurance company (hereinafter

"Illinois National"), is a foreign corporation duly licensed to do business in the State ofWisconsin,

with offices of its Registered Agent, Corporation System, Inc., at 8040 Excelsior Drive, Suite 400,

Madison, Wisconsin, 53 717; this insurance company is a defendant by reason ofWis. Stat. § 102.29

as it may have an interest in the plaintiffs claim by reason of its being the workers compensation

canier for the plaintiff, Adam J. Varelas.

       7.       On or about November 4, 2015, the plaintiff, Adam J. Varelas, during the course of

his employment as a dock supervisor at Sam's Club, was operating a Crown RC Seties stand-up

forklift at or near 1540 S. 108th Street, in the City of West Allis, County of Milwaukee.

       8.       At this time and place, the plaintiff, Adam J. Varelas, attempted to stop the forklift

by plugging, when the brakes failed, causing the forklift and Mr. Varelas to go over the loading

dock, falling to the ground below, with a portion of the forklift landing on Mr. Varelas, causing

him to suffer serious permanent personal injuries.




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             Case 2:17-cv-00869-JPS Filed 06/22/17 Page 6 of 53 Document 1-1
                    CLAIM FOR INJURIES BASED ON NEGLIGENCE
               OF THE DEFENDANT, CROWN EQUIPMENT CORPORATION

        9.       Reallege and incorporate herein by reference all of the allegations of paragraphs 1-

8 of the Complaint herein.

        10.      The defendant, Crown Equipment, by its employees, agents and representatives,

was negligent in the design, testing, manufacture, marketing, service, repair, and maintenance,

distribution and sale of the subject forklift involved in this accident, including but not limited to,

failing to provide a forklift that operated safely; failing to provide adequate wamings and

instructions on and with the forklift; failing to properly test the subject forklift; failing to properly

service, repair, and maintain the forklift; and by placing a product on the market that was

unreasonably dangerous and could cause serious personal injuries to any potential user; and was

otherwise negligent.

        11.      The above and foregoing acts of negligence on the part of the defendant, Crown

Equipment, were a direct and proximate cause of the injuries and damages sustained by the

plaintiff, Adam J. Varelas.

        12.      As a result of the negligence on the part of the defendant, Crown Equipment, as

afore alleged, the plaintiff, Adam J. Varelas, sustained pennanent injuries and damages, including

past and future pain, suffering, disfigurement, disability, humiliation, embarrassment, worry and

mental distress, all of which is pe1manent in nature, and loss of enjoyment oflife; past wage loss

and impairment of future earning capacity; past and future medical expenses; and other

compensable injuries.

       13.       The plaintiff, Michelle Varelas, is the wife of plaintiff, Adam J. Varelas, and as his

wife, sustained damages, including but not limited to the loss of consortium, society and


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              Case 2:17-cv-00869-JPS Filed 06/22/17 Page 7 of 53 Document 1-1
companionship of her husband, and will in the future sustain damages as the result of the injuries

sustained by her husband as described above.

               CLAIM FOR DAMAGES BASED ON STRICT LIABILITY
              OF THE DEFENDANT, CROWN EQUIPMENT CORPORATION

        14.     Reallege and incorporate herein by reference all of the allegations of paragraphs 1-

13 of the Complaint herein.

        15.     The forklift used by the plaintiff, Adam J. Varelas, was in a defective condition so

as to be unreasonably dangerous to users with respect to its design, testing, manufacture,

marketing, distribution, sale and warnings when it left the possession and control of the defendant,

Crown Equipment.

       16.      The subject forklift was a product the defendant, Crown Equipment, expected to

and did reach the plaintiff, Adam J. Varelas, as a user without substantial change in the condition

in which it was sold.

       17.      The aforedescribed defective condition which rendered the subject forklift

unreasonably dangerous was a direct and proximate cause of the injmies and damages sustained

by the plaintiff, Adam J. Varelas.

       18.      As a result of the aforedescribed defective condition of the subject forklift, the

plaintiff, Adam J. Varelas, sustained injuries and damages as described above.

                     CLAIM FOR INJURIES BASED ON NEGLIGENCE
                      OF THE DEFENDANT, CROWN LIFT TRUCKS

       19.      Reallege and incorporate herein by reference all of the allegations of paragraphs 1-

18 of the Complaint herein.

       20.      The defendant, Crown Lift Trucks, by its employees, agents and representatives,

was negligent in the design, testing, manufacture, marketing, service, repair, and maintenance,

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             Case 2:17-cv-00869-JPS Filed 06/22/17 Page 8 of 53 Document 1-1
distribution and sale of the subject forklift involved in this accident, including but not limited to,

failing to provide a forklift that operated safely; failing to provide adequate warnings and

instructions on and with the forklift; failing to properly test the subject forklift; failing to properly

service, repair, and maintain the forklift; and by placing a product on the market that was

unreasonably dangerous and could cause selious personal injmies to any potential user; and was

otherwise negligent.

       21.      The above and foregoing acts of negligence on the part of the defendant, Crown

Lift Trucks, were a direct and proximate cause of the injmies and damages sustained by the

plaintiff, Adam J. Varelas.

       22.      As a result of the negligence on the part of the defendant, Crown Lift Trucks, as

afore alleged, the plaintiff, Adam J. Varelas, sustained injulies and damages as desclibed above.

       23.      As a result of the negligence on the part of the defendant, Crown Lift Trucks, as

afore alleged, the plaintiff, Adam J. V arelas, sustained permanent injulies and damages, including

past and future pain, suffeling, disfigurement, disability, humiliation, embarrassment, worry and

mental distress, all of which is permanent in nature, and loss of enjoyment oflife; past wage loss

and impainnent of future earning capacity; past and future medical expenses; and other

compensable injuries.

       24.      The plaintiff, Michelle V arelas, is the wife of plaintiff, Crown Lift Tmcks, and as

his wife, sustained damages, including but not limited to the loss of consortium, society and

companionship ofher husband, and will in the future sustain damages as the result of the injulies

sustained by her husband as desclibed above.




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                    CLAIM FOR DAMAGES BASED ON STRICT LIABILITY
                       OF THE DEFENDANT, CROWN LIFT TRUCKS

        25.       Reallege and incorporate herein by reference all of the allegations of paragraphs

1-24 of the Complaint herein.

        26.       The forklift used by the plaintiff, Adam J. Varelas, was in a defective condition so

as to be unreasonably dangerous to users with respect to its design, testing, manufacture,

marketing, distribution, sale and warnings when it left the possession and control of the defendant,

Crown Lift Trucks.

        27.       The subject forklift was a product the defendant, Crown Lift Trucks, expected to

and did reach the plaintiff, Adam J. Varelas, as a user without substantial change in the condition

in which it was sold.

        28.       The aforedescribed defective condition which rendered the subject forklift

unreasonably dangerous was a direct and proximate cause of the injuries and damages sustained

by the plaintiff, Adam J. Varelas.

        29.       As a result of the aforedescribed defective condition of the subject forklift, the

plaintiff, Adam J. Varelas, sustained injuries and damages as described above.

        WHEREFORE, the plaintiffs demand judgment against the defendants for the amount of

damages found to be appropriate, together with the costs, disbursements and prejudgment interest

in this action.

        In the event of settlement or verdict in favor of the plaintiffs, plaintiffs demand judgment

for an order declaring the plaintiffs' rights to such settlement/verdict proceeds paramount to those

of any subrogated patiy.




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        Finally, in the event of any subrogated party's failure to respond to this Complaint in a

timely manner, the plaintiffs request this Comi to grant an order dismissing the subrogated party

from this action and barring any claim for subrogation and/or reimbursement, and baning the

subrogated patiy from participating in any judgment or settlement in this action.

       Plaintiffs allege that their damages are more than the minimum amount necessary to invoke

the jurisdiction of this Comi.
                                                 ~
       Dated at Milwaukee, Wisconsin this    S       day of _   _,_--+--'""-"L==t---------'   2017.

                                             HABUSH HABUSH
                                             Attorneys for Plaintif


                                     By:
                                             Tim'othy S. Tre
                                             State Bar No. 1021161
                                             ttrecek@habush. com


       PLEASE TAKE NOTICE THAT THE PLAINTIFF DEMANDS THAT THE
       ABOVE ENTITLED ACTION BE TRIED BY A TWELVE PERSON JURY.

P.O. ADDRESS:

US Bank Building, Suite 2300
777 East Wisconsin Avenue
Milwaukee, WI 53202
(414) 271-0900




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STATE OF WISCONSIN           CIRCUIT COURT           MILWAUKEE COUNTY

ADAMJ. VARELAS and
MICHELLE V ARELAS                              Case No.


            Plaintiffs,                       Personal Injury-Other: 30107

        vs.
CROWN EQUIPMENT CORPORATION
a foreign corporation

ABC INSURANCE COMPANY
a fictitious corporation,

CROWN LIFT TRUCKS

DEF INSURANCE COMPANY
a fictitious corporation,

ILLINOIS NATIONAL INSURANCE COMPANY
a Wisconsin corporation


            Defendants.


         PLAINTIFFS' FIRST SET OF WRITTEN INTERROGATORIES TO
  DEFENDANTS CROWN EQUIPMENT CORPORATION AND CROWN LIFT TRUCKS


TO:   CROWN EQUIPMENT CORPORATION
      c/o CT Corporation System
      8020 Excelsior Dr., Ste. 200
      Madison, WI 53 717

      and

      CROWN LIFT TRUCKS
      5150 S. Towne Dr.
      New Berlin, WI 53151




       Case 2:17-cv-00869-JPS Filed 06/22/17 Page 12 of 53 Document 1-1
           Plaintiffs, Adam J. Varelas and Michelle Varelas, by their attorney, Timothy S. Trecek of

Habush Habush & Rattier, hereby request, pursuant to Wisconsin Statute 804.08 that the

defendants, Crown Equipment Corporation ("Crown Equipment") and Crown Lift Trucks

("Crown Lift"), answer Plaintiffs' First Set ofWritten Interrogatories in writing, under oath, within

forty- five (45) days of service.

                                           DEFINITIONS

        A.        "Documents" refers to everything within the scope ofWis. Stat. 804.09.

        B.        "Defendant" or "Crown Equipment " or "Crown Lift" refers to all of its

employees, agents and servants, any division or group of Crown Equipment or Crown Lift, any

subsidiaries, any affiliated or associated companies, and all employees, agents and independent

contractors associated with any of these entities.

           C.     "Hazard" refers to any condition or any changing set of circumstances which

present an injury potential. The defendant's response to an inquiry employing this term shall not

be deemed to constitute an admission that such hazard does in fact exist.

       D.         "Other Incidents; Other Similar Incidents." Whenever either of these phrases

is employed, it is intended to refer to any other incident which involved a Crown stand- up electric

forklift where an allegation occurred that the brakes or plugging operation on the forklift failed to

operate.

       E.         "Path of Distribution." Whenever this phrase is employed, it is intended to refer

to the movement of said product in terms of time and geography, beginning at the time and place

at which it was first assembled and manufactured as a completed product or a finished product and

ending at the location where it becomes sold to a consumer.




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           F.   "Subject Forklift." This phrase is intended to refer to the Crown RC series stand-

up forklift in which the plaintiff was operating at the time of the subject accident. It is intended

that said term shall be construed to include each and every component of said product

           G.   "Quality Assurance." This phrase is intended to refer to any and all efforts

(including, but not limited to studies, tests, inspections, examinations) and other activities

conducted by or on behalf of the defendant for the purpose of ascertaining whether or not a finished

product conforms to the design objectives or design criteria for that product.


        H.      "Test(s)." This word is intended to refer to any test(s) made by or on behalf of the

Defendant or test(s) made by some other person, firm or corporation to which the Defendant

refened in selecting the design that was adopted by the Defendant for said product (or any

subsequent change thereto) or in the course of the investigation of said incident. The word test( s)

includes static and dynamic tests, whether involving models or full size components, and

computer-simulated testing.
                                       INTERROGATORIES


        INTERROGATORY NO. 1: Identify all witnesses from whom the defendant or any of its

representatives have obtained written or recorded statements, and the custodians of such

statements.

        INTERROGATORY NO.2: Identify all agents, servants, or employees of the defendant

who participated in any manner in the investigation of the claim which is the subject matter of this

lawsuit.

        INTERROGATORY NO. 3:                  Identify each corporate standard, specification or

requirement, industry standard or custom, governmental standard, code, specification or regulation

pertaining to the subject forklift, including, but not limited to its circuitry.




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       INTERROGATORY NO.4: Identify the person or persons cun·ently employed by you

most knowledgeable concerning the following:

       a)       The design, development, testing and marketing of the subject forklift and its

                components.

       b)       Safety devices which were incorporated into the design of the subject forklift

                related to the circuitry, braking and plugging.

       c)       Safety hazards in the use of the subject forklift which were considered by you

                related to braking and plugging.

      d)        Communications between Crown Equipment and its dealers and distributors

                regarding its RC 3000 series stand-up forklifts.

      e)        Communications between Crown Lift and its end-users regarding its RC 3000

                series stand-up forklifts.

      f)        Communications between Crown Equipment and Crown Lift pertaining to the

                subject forklift.

      g)        Communications between Crown Lift and Sam's Club, 1540 S. 108th Street, West

                Allis, WI 53214, related to the repairs and maintenance of the Crown forklifts at

                that location.

      h)        Communications between Crown Equipment and Sam's Club, 1540 S. 1ogth Street,

                West Allis, WI 53214, related to Crown forklifts at that location.

      i)        Reported claims of injuries allegedly resulting from use of Crown stand-up

                forklifts.

      j)        Customer complaints regarding Crown stand-up forklifts.

      k)        State of the art in design of the circuitry of stand-up forklifts.




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       INTERROGATORY NO. 5: Identify each engineer or consultant who evaluated any of

your RC 3000 series stand-up forklifts to determine any potential for causing injury it may have,

including, but not limited to, the potential for the malfunction of the braking or plugging system.

       INTERROGATORY NO.6: Identify by name and address the corporate entity which is

legally responsible for the liabilities, if any, of Crown Equipment, for personal injuries sustained

in November, 2015, for claims such as those made in plaintiffs' complaint.

        INTERROGATORY NO.7: Identify by name and address the corporate entity which is

legally responsible for the liabilities, if any, of Crown Lift, for personal injuries sustained in

November, 2015, for claims such as those made in plaintiffs' complaint.

                  Sb
       Dated this_ day of May, 2017.

                                                     HABUSH HABUSH & ROTTlER S.C.®
                                                     Attorneys for Plaintiffs




                                                     ttrecek@habush.com

P.O. ADDRESS:
777 East Wisconsin A venue
Suite 2300
Milwaukee, WI 53202
(414) 271-0900




         Case 2:17-cv-00869-JPS Filed 06/22/17 Page 16 of 53 Document 1-1
STATE OF WISCONSIN                  CIRCUIT COURT                MILWAUKEE COUNTY

ADAM J. V ARELAS and
MICHELLE VARELAS                                          Case No.


             Plaintiffs,                                  Personal Injury-Other: 30107

        vs.
CROWN EQUIPMENT CORPORATION
a foreign corporation

ABC INSURANCE COMPANY
a fictitious corporation,

CROWN LIFT TRUCKS

DEF INSURANCE COMPANY
a fictitious corporation,

ILLINOIS NATIONAL INSURANCE COMPANY
a Wisconsin corporation


             Defendants.


      PLAINTIFFS' FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO
  DEFENDANTS CROWN EQUIPMENT CORPORATION AND CROWN LIFT TRUCKS


TO:   CROWN EQUIPMENT CORPORATION
      c/o CT Corporation System
      8020 Excelsior Dr., Ste. 200
      Madison, WI 53717

      and

      CROWN LIFT TRUCKS
      5150 S. Towne Dr.
      New Berlin, WI 53151


      Plaintiffs, Adam J. Varelas and Michelle Varelas, by their attorney, Timothy S. Trecek of

Habush Habush & Rattier, hereby request, pursuant to Wisconsin Statute 804.09 that the


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        Case 2:17-cv-00869-JPS Filed 06/22/17 Page 17 of 53 Document 1-1
defendants, Crown Equipment Corporation ("Crown Equipment") and Crown Lift Trucks

("Crown Lift") produce and pe1mit inspection and/or copying of the following described

documents within fmiy-five (45) days of service. In lieu of said production, copies of the requested

documents may be provided to plaintiffs' counsel at the law offices of Habush Habush & Rottier

S.C.®, 777 East Wisconsin Avenue, Suite 2300, Milwaukee, WI 53202 within forty-five (45) days

of service hereof.

                                       DEFINITIONS

       A.       "Documents" refers to everything within the scope of Wis. Stat. 804.09.

       B.        "Defendant" or "Crown Equipment " or "Crown Lift" refers to all of its

employees, agents and servants, any division or group of Crown Equipment or Crown Lift, any

subsidiaries, any affiliated or associated companies, and all employees, agents and independent

contractors associated with any of these entities.

           C.   "Hazard" refers to any condition or any changing set of circumstances, which

present an injury potential. The defendant's response to an inquiry employing this term shall not

be deemed to constitute an admission that such hazard does in fact exist.

       D.       "Other Incidents; Other Similar Incidents." Whenever either of these phrases

is employed, it is intended to refer to any other incident, which involved a Crown stand- up electric

forklift where an allegation occurred that the brakes or plugging operation on the forklift failed to

operate.

       E.       "Path of Distribution." Whenever this phrase is employed, it is intended to refer

to the movement of said product in terms oftime and geography, beginning at the time and place

at which it was first assembled and manufactured as a completed product or a finished product and



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            Case 2:17-cv-00869-JPS Filed 06/22/17 Page 18 of 53 Document 1-1
ending at the location where it becomes sold to a consumer.

        F.       "Subject Forklift." This phrase is intended to refer to the Crown RC series stand-

up forklift in which the plaintiff was operating at the time of the subject accident. It is intended

that said term shall be construed to include each and every component of said product

        G.       "Quality Assurance." This phrase is intended to refer to any and all efforts

(including, but not limited to studies, tests, inspections, examinations) and other activities

conducted by or on behalf of the defendant for the purpose of ascertaining whether or not a finished

product conforms to the design objectives or design criteria for that product.


        H.       "Test(s)." This word is intended to refer to any test(s) made by or on behalf of the

Defendant or test(s) made by some other person, firm or corporation to which the Defendant

referred in selecting the design that was adopted by the Defendant for said product (or any

subsequent change thereto) or in the course of the investigation of said incident. The word test( s)

includes static and dynamic tests, whether involving models or full size components, and

computer-simulated testing.



                                              REQUESTS

        REQUEST NO. 1:          All applicable insurance policies, including umbrella and excess

policies.    This request encompasses each entire policy, including declaration or face sheets

showing the policy limits of each policy.

        REQUEST NO. 2:          Organizational charts showing Crown Equipment's and Crown

Lift's corporate structure(s) for the time-period from when the Defendant first manufactured an

RC 3000 series stand-up forklift through December 31, 2015.

        REQUEST NO.3:           Organizational charts showing that part of Crown Equipment's

                                                  3
             Case 2:17-cv-00869-JPS Filed 06/22/17 Page 19 of 53 Document 1-1
organization and the individuals who participated in the design, development, research, and testing

of Crown's RC 3000 series stand-up·forklift through December 31, 2015.

       REQUEST NO. 4:         Organizational charts showing that pat1 of Crown Equipment's

organization and the individuals who participated in the sale, leasing, advertising, and marketing

of Crown's RC 3000 series stand-up forklifts through December 31,2015.

       REQUEST NO.5:          Copies of all documents, including legal complaints, consumer

complaints, memos, reviews, internal reports, correspondence, and/or communications from

industry organizations, consumer groups, attorneys, insurance companies, or governmental

regulatory agencies, received by Crown Equipment or Crown Lift, relating to claimed injuries to

operators or bystanders where an allegation was made of failed braking or failed plugging with a

stand-up forklift which uses the same circuitry for its braking and plugging as used in the subject

forklift, excluding documentation protected by the attorney/client privilege.

       REQUEST NO. 6:         All corporate standards, specification or requirements, industry

standards or custom, governmental standards, codes, specifications or regulations, applicable to

the subject forklift you contend were complied with, in the design and manufacture of the Crown

RC 3000 series stand-up forklifts.

       REQUESTNO. 7:          All Crown Equipment internal standards, regulations, policies and

procedures, applicable to the subject forklift you contend were complied with, in the design and

manufacture of the Crown RC 3000 series stand-up forklifts.

       REQUEST NO. 8:         All documents (specifically including but not limited to, blueprints,

engineering layouts, schematics, drawings or detail diagrams, drawing revisions, specifications,

and corporate standards or requirements), for the RC 3000 series stand-up forklifts, including but



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         Case 2:17-cv-00869-JPS Filed 06/22/17 Page 20 of 53 Document 1-1
not limited to its circuitry.

        REQUEST NO. 9:          For those RC 3000 stand-up forklifts which post-date the subject

forklift, and which incorporate circuitry different than the subject forklift's circuitry, produce all

documents (specifically including but not limited to, blueprints, engineering layouts, schematics,

drawings or detail diagrams, drawing revisions, specifications, and corporate standards or

requirements), including but not limited to its circuitry.

        REQUEST NO. 10:         All Failure Mode and Effects Analysis, hazard analysis, or similar

documents by any other name, created to address potential hazards related to the Crown Equipment

RC 3000 series stand-up forklifts.

        REQUEST NO. 11:         Documents (including videotapes, photographs, slides or motion

pictures) generated due to testing and performance for the RC 3000 series stand-up forklift, and

which are applicable to the subject forklift.

        REQUEST NO. 12:         The index or catalog (including any computerized index or catalog)

of Crown Equipment's testing conducted on the RC 3000 series stand-up forklifts, from when

Crown Equipment first manufactured the RC 3000 series forklifts through the present.

        REQUEST NO. 13:         Documents regarding the contemplation, rationale, feasibility,

and/or performance of alternative designs ofthe RC 3000 series stand-up forklift circuitry.

        REQUEST NO. 14:         All documents regarding Crown Equipment's and Crown Lift's

quality assurance procedures, including any and all examinations, inspections, and tests, whether

static or dynamic, done in part to confirm that the finished forklift complied with the design criteria

and/or specifications.

        REQUEST NO. 15:         All videotapes, photographs, slides or motion pictures and test

                                                  5
          Case 2:17-cv-00869-JPS Filed 06/22/17 Page 21 of 53 Document 1-1
reports created during the development of the RC 3000 series forklift.

        REQUEST NO. 16:            All advertising or promotion material of Crown Equipment's RC

3000 series stand-up forklifts marketed through the present.

        REQUEST NO. 17:            All technical articles or reports written by Crown Equipment or

Crown Lift's personnel, which relate to the circuitry of stand-up forklifts.

        REQUEST NO. 18:            The operator's manual for the subject forklift.

        REQUEST NO. 19:            The service manual for the subject forklift.

        REQUEST NO. 20:            The operator's manual for each RC 3000 series stand-up forklift,

which post-dates the subject forklift.

        REQUEST NO. 21:            The service manual for each RC 3000 series stand-up forklift, which

post-dates the subject forklift.

        REQUEST NO. 22:            All documents relating to applications for patents and/or each patent

issued or assigned to Crown Equipment or any of its employees relating to RC 3000 series stand-

up forklifts, or any component thereof.

        REQUEST NO. 23:            All warnings provided by or on behalf of Crown Equipment to the

purchasers of its RC 3000 series stand-up forklifts from the date first sold up to December 31,

2015.

        REQUEST NO. 24:            Documents reflecting any changes, alterations, or modifications to

the RC 3000 series stand-up forklift from the time it was firs designed until present, with respect

to any of the following:

                a.                 performance specifications;
                b.                 design objectives;

                                                     6
          Case 2:17-cv-00869-JPS Filed 06/22/17 Page 22 of 53 Document 1-1
                c.              design criteria;
                d.              actual design;
                e.              constmction/manufacture/assembly;
                f.              quality assurance;
                g.              use instmctions;
                h.              circuitry;
                1.              warnings.

        REQUEST NO. 25:         All engineering change requests, engineering change notices, and

engineering change orders applicable to the subject forklift.

        REQUEST NO. 26:         All engineering change requests, engineering change notices, and

engineering change orders applicable to the subject forklift.

        REQUEST NO. 27:         Documents reflecting the path of distribution of the subject forklift.

        REQUEST NO. 28:         All documents reflecting any recall of the RC 3000 series stand-up

forklifts involving the electronic circuitry.

        REQUEST NO. 29:         Documents reflecting where, when and by whom the subject forklift

was designed, manufactured, assembled, tested, leased, sold.

        REQUEST NO. 30:         Documents reflecting the model name, model number, and years

sold, for each RC 3000 series stand-up forklift model manufactured and/or marketed by Crown

Equipment.

        REQUEST NO. 31:         All meeting minutes from committee(s) associated with the subject

areas described below as they pertain to the RC 3000 series stand-up forklifts, from the time-period

when Crown Equipment first manufactured the RC 3000 series forklift through December 31,

2015:




                                                  7
          Case 2:17-cv-00869-JPS Filed 06/22/17 Page 23 of 53 Document 1-1
                                  a)   Product Development;
                                  b)   Product Standards;
                                  c)   Testing;
                                  d)   Quality Assurance;
                                  e)   Manufacturing;
                                  f)   Sales.

            REQUEST NO. 32:       Documents that describe your document retention policy in effect as

of calendar year 2015.

            REQUEST NO. 33:       Documents which identify by year, the number of RC 3000 series

forklifts manufactured, which incorporate the same circuitry as the subject forklift.

            REQUEST NO. 34:       Documents which set forth the per unit cost to Crown Equipment to

manufacture the subject forklift.

            REQUEST NO. 35:       Documents which set forth the retail cost for the subject forklift

when new.

            REQUEST NO. 36: All lease agreements, or sales documents, pertaining to the subject

forklift.

            REQUEST NO. 37: All lease agreements, or sales documents, pertaining to each Crown

forklift, which was at Sam's Club, 1540 S. 108th Street, West Allis, WI 53214, as ofNovember 4,

2015.

            REQUEST NO. 38: All service, repair, maintenance records for the subject forklift.

            REQUEST NO. 39: All service, repair, maintenance records pertaining to each Crown

forklift which was at Sam's Club, 1540 S. 108th Street, West Allis, WI 53214, as ofNovember 4,

2015.

            REQUEST NO. 40: All records in your possession or available to you, including but not

limited to, bills of sale, purchase orders, invoices, and shipping documents, pertaining to the

original sale and shipment, or lease, of the subject forklift.

                                                    8
             Case 2:17-cv-00869-JPS Filed 06/22/17 Page 24 of 53 Document 1-1
        REQUEST NO. 41: Documents which identify each and every identification number listed

on the subject forklift, including those for the circuitry boards. (I.e. model number, serial number,

patent number, etc.).

        REQUEST NO. 42: All warranty records in your possession or available to you relating to

the subject forklift.

        REQUEST NO. 43: All photographs and videotapes of the subject forklift taken by you or

your representatives at any time.

        REQUEST NO. 44: All service bulletins applicable to the subject forklift.

        REQUEST NO. 45: Copies of all statements taken from any parties or witnesses to the

accident in question or persons who have knowledge of the accident or injuries or damages

sustained or claimed by the plaintiff.

        REQUEST NO. 46: All instruction sheets, manuals, and any other written material, which

accompanied the subject forklift at the time it left the possession of Crown Equipment and Crown

Lift.

        REQUEST NO. 47: All patents applicable to the subject forklift.

        REQUEST NO. 48: All communications between you and any of your distributors or

dealers of RC 3000 series stand-up forklifts related to reported problems involving braking or

plugging on this forklift series.

        REQUEST NO. 49: All documents generated, including tests and test repmis, as a result

of Crown Equipment's and Crown Lift's testing and/or evaluation of the electrical circuitry, which

controls braking, and plugging in the RC 3000 series stand-up forklifts.

        REQUEST NO. 50: All communications between Crown Equipment and Crown Lift

related to the subject forklift at any time.



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          Case 2:17-cv-00869-JPS Filed 06/22/17 Page 25 of 53 Document 1-1
       REQUEST NO. 51: All internal memoranda and/or procedural manuals which describe

those procedures to be taken to implement any accident reporting system instituted by you to

inform you of injuries sustained by persons using Crown Equipment products.

       REQUEST NO. 52: Produce each indemnity agreement between you and any other entity,

which may be applicable to the subject incident.
                                                ~
      Dated at Milwaukee, Wisconsin thisS -day of May 2017.


                                           HABUSH HABUSH & ROTTlER S.C.®
                                           Attorneys for Plaintiffs


                                    By:
                                          T"Jfud--
                                           State Bar No. 1021161
                                           Email: ttrecek@habush.com


P.O. ADDRESS:
777 East Wisconsin Avenue
Suite 2300
Milwaukee, WI 53202
(414) 271-0900




                                             10
        Case 2:17-cv-00869-JPS Filed 06/22/17 Page 26 of 53 Document 1-1
                                                                        Service of Process
                                                                        Transmittal
                                                                        06/21/2017
                                                                        CT Log Number 531447120
TO:      John Maxa, Vice President and General Counsel
         Crown Equipment Corporation
         102 S Washington St
         New Bremen, OH 45869-1249

RE:      Process Served in Wisconsin

FOR:     CROWN EQUIPMENT CORPORATION  (Domestic State: OH)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                  Adam J. Varelas and Michelle Varelas, Pltfs. vs. Crown Equipment Corporation, etc.,
                                  et al., Dfts.
DOCUMENT(S) SERVED:               Summons, Complaint, First Set of Interrogatories, First Request, Attachment(s)
COURT/AGENCY:                     Milwaukee County Circuit Court, WI
                                  Case # 17CV003823
NATURE OF ACTION:                 Insurance Litigation
ON WHOM PROCESS WAS SERVED:       C T Corporation System, Madison, WI
DATE AND HOUR OF SERVICE:         By Process Server on 06/21/2017 at 14:51
JURISDICTION SERVED :             Wisconsin
APPEARANCE OR ANSWER DUE:         Within 45 days (Document(s) may contain additional answer dates)
ATTORNEY(S) / SENDER(S):          Timothy S. Trecek
                                  Habush, Habush & Rottier, S.C.
                                  US Bank Building, Suite 2300
                                  777 East Wisconsin Avenue
                                  Milwaukee, WI 53202
                                  414-271-0900
ACTION ITEMS:                     CT has retained the current log, Retain Date: 06/22/2017, Expected Purge Date:
                                  06/27/2017

                                  Image SOP

                                  Email Notification,  Donna Prenger  donna.prenger@crown.com

                                  Email Notification,  John Maxa  mary.clouner@crown.com

                                  Email Notification,  Julia Tuente  Julia.Tuente@crown.com

SIGNED:                           C T Corporation System
ADDRESS:                          301 S. Bedford St.
                                  Suite 1
                                  Madison, WI 53703
TELEPHONE:                        302-658-7581/7582/7583




                                                                        Page 1 of  1 / SP
                                                                        Information displayed on this transmittal is for CT
                                                                        Corporation's record keeping purposes only and is provided to
                                                                        the recipient for quick reference. This information does not
                                                                        constitute a legal opinion as to the nature of action, the
                                                                        amount of damages, the answer date, or any information
                                                                        contained in the documents themselves. Recipient is
                                                                        responsible for interpreting said documents and for taking
                                                                        appropriate action. Signatures on certified mail receipts
                                                                        confirm receipt of package only, not contents.
       Case 2:17-cv-00869-JPS Filed 06/22/17 Page 27 of 53 Document 1-1
                                                                        JCV 003823
STATE OF WISCONSiN :                  CIRCUIT COURT :               MILWAUKEE COUNTY

ADAM J. VARELAS and
MICHELLE VARELAS                                             Case No.
235 W. Armour Ave.
Milwaukee, WI 53207                                          SUMMONS

               Plaintiffs,                                  Personal Injury-Other: 30107

        vs.                                                 AMOUNT CLAIMED GREATER
                                                                THAN $5,000.00
CROWN EQUIPMENT CORPORATION
a foreign corporation                                                                           MAY
                                                                                                        092017
do CT Corporation System
8020 Excelsior Dr., Ste. 200
Madison, WI 53717
                                                                                   JURY DEMAND PEE 12
ABC INSURANCE COMPANY                                                              PERSON $72.00 PAID
a fictitious corporation,

CROWN LIFT TRUCKS
5150 S. Towne Dr.                                                 HON. WILLIAM SOSNyBR. 8
New Berlin, WI 53151                                                               CIVILJ
DEF INSURANCE COMPANY
a fictitious corporation,                                                     Al
                                                                          r
ILLINOIS NATIONAL INSURANCE COMPANY
a Wisconsin corporation
                                                                    0    a-
                                                                               M4y0920171
                                                                                                  0
do Corporation System, Inc., Registered Agent                                      flád MHTJ
8040 Excelsior Dr., Ste. 400                                             Oie* at CircuitCoun
Madison, WI 53717

               Defendants.


THE STATE OF WISCONSIN
TO EACH PERSON NAMED ABOVE AS A DEFENDANT:

       You are hereby notified that the plaintiffs named above have filed a lawsuit or other legal
action against you. The Complaint, which is attached, states the nature and basis of the legal
action. Within forty-five (45) days after receiving this Summons, you must respond to the
Complaint with a written Answer, as that term is used in Chapter 802 of the Wisconsin Statutes.
The Court may reject or disregard an Answer that does not follow the requirements of the statutes.




         Case 2:17-cv-00869-JPS Filed 06/22/17 Page 28 of 53 Document 1-1
    The Answer must be sent or delivered to the Court, whose address is 901 North Ninth Street,
    Milwaukee, Wisconsin, 53233, and to Habush Habush & Rottier S.C.®, whose address is 777 East
    Wisconsin Avenue, Suite 2300, Milwaukee, Wisconsin, 53202.
           If you do not provide a proper Answer within forty-five (45) days, the Court may grant
    judgment against you for the award of money or other legal action in the Complaint, and you may
    lose your right to object to anything that is or may be incorrect in the Complaint. A judgment may
    be enforced as provided by law. A judgment awarding money may become a lien against any real
    estate you own now or in the future, and may also be enforced by garnishment or seizure of
    property.
           Dated at Milwaukee, Wisconsin, this -        day of    IIIj cuj,         2017.

                                                 HABUSH HABUSH 8(ROTFIER S.C.®
                                                 Atto ys for P aintiff


                                          By TiZothy
                                              State Bar No. 021161
                                              ttrecek@habush.com


    P.O. ADDRESS:

    US Bank Building, Suite 2300
-   777 East Wisconsin Avenue         -             -                                         - -
    Milwaukee, WI 53202
    (414) 271-0900




                Case 2:17-cv-00869-JPS Filed 06/22/17 Page 29 of 53 Document 1-1
Ir


                                                                                I 7CV003823
     STATE OF WISCONSIN :               CIRCUIT COURT :             MILWAUKEE COUI'JTY

     ADAM J. VARELAS and
     MICHELLE VARELAS                                        Case No.
     235 W. Armour Ave.
     Milwaukee, WI 53207                                     COMPLAINT

                    Plaintiffs,                              Personal Injury-Other: 30107

            VS.                                              AMUUINT CLAIMJ±I) UKIA1I1(
                                                                    THAN $5,000.00
     CROWN EQUIPMENT CORPORATION
     a foreign corporation
     do CT Corporation System
     8020 Excelsior Dr., Ste. 200
     Madison, WI 53717

     ABC INSURANCE COMPANY
     a fictitious corporation,

     CROWN LIFT TRUCKS
     5150 S. Towne Dr.
     New Berlin, WI 53151

     DEF INSURANCE COMPANY
     a fictitious corporation,
                                                                                      FILED AND
     ILLINOIS NATIONAL INSURANCE COMPANY                                         1      r4TED
     a Wisconsin corporation                                                    I
     do Corporation System, Inc., Registered Agent                          O        MAY 09 2011]   0
     8040 Excelsior Dr., Ste. 400
     Madison, WI 53717
                                                                                 JW3INMH1T
                                                   .                    _____
                                                                        L       CIerkOlCfrctiItQouJ
                    Defendants.


            The above named plaintiffs by HABUSH HABUSH & ROTTIER S.C.®, their attorneys,

     as and for a Complaint against the above named defendants, alleges and shows to the Court as

     follows:




                Case 2:17-cv-00869-JPS Filed 06/22/17 Page 30 of 53 Document 1-1
                              GENERAL ALLEGATIONS APPLICABLE
                                TO ALL CLAIMS FOR DAMAGES

                At the present time, the plaintiffs, Adam J. Varelas and Michelle Varelas, are

citizens and residents of the State of Wisconsin residing at 235 W. Armour Avenue, Milwaukee,

Wisconsin 53207 and are husband and wife.

                At the present time, the defendant, Crown Equipment Corporation (hereinafter

"Crown Equipment") is a foreign corporation with offices of its Registered Agent, CT Corporation

System, at 8020 Excelsior Dr., Ste. 200, Madison, Wisconsin 53717. On information and belief,

Crown Equipment Corporation is in the business of designing, testing, manufacturing, marketing,             -

distributing and selling stand-up forklifts.

               On information and belief, an unknown insurance company, herein designated

pursuant to Wis. Stat. §807.12 by the fictitious name of ABC Insurance Company, had issued a

policy of insurance to Crown Equipment, which policy provided coverage to Crown Equipment

for claims such as those hereinafter set forth in this Complaint and which policy of insurance was

in full force and effect at the time of the hereinafter described matter; in the contract of insurance, -

this defendant insurance company reserved the right to settle or adjust any claims arising

thereunder and to defend any lawsuits instituted by virtue of any such claims; by virtue of this

contract of insurance, this defendant insurance company is a proper party defendant herein.

               At the present time, the defendant, Crown Lift Trucks, is a branch of Crown

Equipment with its principal place of business located at 5150 S. Towne Dr., New Berlin,

Wisconsin 53151. On information and belief, Crown Lift Trucks is in the business of selling and

servicing Crown forklifts, and its parts and accessories, including the subject RC series forklift.




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            5.      On information and belief, an unknown insurance company, herein designated

    pursuant to Wis. Stat. §807.12 by the fictitious name of DEF Insurance Company, had issued a

    policy of insurance to Crown Lift Trucks, which policy provided coverage to Crown Lift Trucks

    for claims such as those hereinafter set forth in this Complaint and which policy of insurance was

    in full force and effect at the time of the hereinafter described matter; in the contract of insurance,

    this defendant insurance company reserved the right to settle or adjust any claims arising

    thereunder and to defend any lawsuits instituted by virtue of any such claims; by virtue of this

    contract of insurance, this defendant insurance company is a proper party defendant herein.

-           6. - At the present time, the defendant;Illinois National Insurance company (hereinafter

    "Illinois National"), is a foreign corporation duly licensed to do business in the State of Wisconsin,

    with offices of its Registered Agent, Corporation System, Inc., at 8040 Excelsior Drive, Suite 400,

    Madison, Wisconsin, 53717; this insurance company is a defendant by reason of Wis. Stat. § 102.29

    as it may have an interest in the plaintiffs claim by reason of its being the workers compensation

    carrier for the plaintiff, Adam J. Varelas.

                    On or about November 4, 2015, the plaintiff, Adam J. Varelas, during the coure of T -

    his employment as a dock supervisor at Sam's Club, was operating a Crown RC Series stand-up

    forklift at or near 1540 S. 108" Street, in the City of West Allis, County of Milwaukee.

           8.       At this time and place, the plaintiff, Adam J. Varelas, attempted to stop the forklift

    by plugging, when the brakes failed, causing the forklift and Mr. Varelas to go over the loading

    dock, falling to the ground below, with a portion of the forklift landing on Mr. Varelas, causing

    him to suffer serious permanent personal injuries.




                                                      3



                Case 2:17-cv-00869-JPS Filed 06/22/17 Page 32 of 53 Document 1-1
                  CLAIM FOR INJURIES BASED ON NEGLIGENCE
             OF THE DEFENDANT, CROWN EQUIPMENT CORPORATION

                Reallege and incorporate herein by reference all of the allegations of paragraphs 1-

8 of the Complaint herein.

                The defendant, Crown Equipment, by its employees, agents and representatives,

was negligent in the design, testing, manufacture, marketing, service, repair, and maintenance,

distribution and sale of the subject forklift involved in this accident, including but not limited to,

failing to provide a forklift that operated safely; failing to provide adequate warnings and

instructions on and with the forklift; failing to properly test the subject forklift; failing to properly

service, repair, and maintain the forklift; and by placing a product on the market that was

unreasonably dangerous and could cause serious personal injuries to any potential user; and was

otherwise negligent.

                The above and foregoing acts of negligence on the part of the defendant, Crown

Equipment, were a direct and proximate cause of the injuries and damages sustained by the

plaintiff, Adam J. Varelas.

                As a result of the negligence on the part of the defendant, Crown Equipment, as

afore alleged, the plaintiff, Adam J. Varelas, sustained permanent injuries and damages, including

past and future pain, suffering, disfigurement, disability, humiliation, embarrassmnt, worry and

mental distress, all of which is permanent in nature, and loss of enjoyment of life; past wage loss

and impairment of future earning capacity; past and future medical expenses; and other

compensable injuries.

               The plaintiff, Michelle Varelas, is the wife of plaintiff, Adam J. Varelas, and as his

wife, sustained damages, including but not limited to the loss of consortium, society and


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          Case 2:17-cv-00869-JPS Filed 06/22/17 Page 33 of 53 Document 1-1
companionship of her husband, and will in the future sustain damages as the result of the injuries

sustained by her husband as described above.

             CLAIM FOR DAMAGES BASED ON STRICT LIABILITY
            OF THE DEFENDANT, CROWN EQUIPMENT CORPORATION

               Reallege and incorporate herein by reference all of the allegations of paragraphs 1-

13 of the Complaint herein.

               The forklift used by the plaintiff, Adam J. Varelas, was in a defective condition so

as to be unreasonably dangerous to users with respect to its design, testing, manufacture,

marketing, distribution, sale and warnings when it left the possession and control of the defendant,

Crown Equipment.

               The subject forklift was a product the defendant, Crown Equipment, expected to

and did reach the plaintiff, Adam J. Varelas, as a user without substantial change in the condition

in which it was sold.

               The aforedescribed defective condition which rendered the subject forklift

unreasonably dangerous was a direct and proximate cause of the injuries and damages sustained

by the plaintiff, Adam J. Varelas.

               As a result of the aforedescribed defective condition of the subject forklift, the

plaintiff, Adam J. Varelas, sustained injuries and damages as described above.

                    CLAIM FOR INJURIES BASED ON NEGLIGENCE
                     OF THE DEFENDANT, CROWN LIFT TRUCKS

               Reallege and incorporate herein by reference all of the allegations of paragraphs 1-

18 of the Complaint herein.

               The defendant, Crown Lift Tmcks, by its employees, agents and representatives,

was negligent in the design, testing, manufacture, marketing, service, repair, and maintenance,

                                                 5



         Case 2:17-cv-00869-JPS Filed 06/22/17 Page 34 of 53 Document 1-1
distribution and sale of the subject forklift involved in this accident, including but not limited to,

failing to provide a forklift that operated safely; failing to provide adequate warnings and

instructions on and with the forklift; failing to properly test the subject forklift; failing to properly

service, repair, and maintain the forklift; and by placing a product on the market that was

unreasonably dangerous and could cause serious personal injuries to any potential user; and was

otherwise negligent.

                The above and foregoing acts of negligence on the part of the defendant, Crown

Lift Trucks, were a direct and proximate cause of the injuries and damages sustained by the

plaintiff, Adam J. Varelas.

                As a result of the negligence on the part of the defendant, Crown Lift Trucks, as

afore alleged, the plaintiff, Adam J. Varelas, sustained injuries and damages as described above.

                As a result of the negligence on the part of the defendant, Crown Lift Trucks, as

afore alleged, the plaintiff, Adam J. Varelas, sustained permanent injuries and damages, including

past and future pain, suffering, disfigurement, disability, humiliation, embarrassment, worry and

mental distress, all of which is permanent in nature, and loss of enjoyment of life; past wage loss

and impairment of future earning capacity; past and future medical expenses; and other

compensable injuries.

                The plaintiff, Michelle Varelas, is the wife of plaintiff, Crown Lift Trucks, and as

his wife, sustained damages, including but not limited to the loss of consortium, society and

companionship of her husband, and will in the future sustain damages as the result of the injuries

sustained by her husband as described above.




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                       CLAIM FOR DAMAGES BASED ON STRICT LIABILITY
                          OF THE DEFENDANT, CROWN LIFT TRUCKS

                      Reallege and incorporate herein by reference all of the allegations of paragraphs

    1-24 of the Complaint herein.

                      The forklift used by the plaintiff, Adam J. Varelas, was in a defective condition so

    as to be unreasonably dangerous to users with respect to its design, testing, manufacture,

    marketing, distribution, sale and warnings when it left the possession and control of the defendant,

    Crown Lift Trucks.

                      The subject forklift was a product the defendant, Crown Lift Trucks, expected to

    and did reach the plaintiff, Adam J. Varelas, as a user without substantial change in the condition

    in which it was sold.

                      The aforedescribed defective condition which rendered the subject forklift

    unreasonably dangerous was a direct and proximate cause of the injuries and damages sustained

    by the plaintiff, Adam J. Varelas.

           - 29.      As a result of the aforedescribed defective condition of the subject forklift, the     -
-
    plaintiff, Adam J. Varelas, sustained injuries and damages as described above.

            WHEREFORE, the plaintiffs demand judgment against the defendants for the amount of

    damages found to be appropriate, together with the costs, disbursements and prejudgment interest

    in this action.

            In the event of settlement or verdict in favor of the plaintiffs, plaintiffs demand judgment

    for an order declaring the plaintiffs' rights to such settlementiverdict proceeds paramount to those

    of any subrogated party.




                                                       VA




              Case 2:17-cv-00869-JPS Filed 06/22/17 Page 36 of 53 Document 1-1
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             Finally, in the event of any subrogated party's failure to respond to this Complaint in a

     timely manner, the plaintiffs request this Court to grant an order dismissing the subrogated party

     from this action and barring any claim for subrogation and/or reimbursement, and barring the

     subrogated party from participating in any judgment or settlement in this action.

            Plaintiffs allege that their damages are more than the minimum amount necessary to invoke

     the jurisdiction of this Court.
                                                       Ukk
            Dated at Milwaukee, Wisconsin this          day of   114                     , 2017.

                                                                        4'
                                                    HABUSH HABUSH ROTrIER S.C.®
                                                    Attorneys for Plaintiff'


                                          By:

                                                    State Bar No. 1021161
                                                    ttrecek@habush.com


            PLEASE TAKE NOTICE THAT THE PLAINTIFF DEMANDS THAT THE
            ABOVE ENTITLED ACTION BE TRIED BY A TWELVE PERSON JURY.

     P.O. ADDRESS:                                                          -   -

     US Bank Building, Suite 2300
     777 East Wisconsin Avenue
     Milwaukee, WI 53202
     (414) 271-0900




               Case 2:17-cv-00869-JPS Filed 06/22/17 Page 37 of 53 Document 1-1
STATE OF WISCONSIN :                         CIRCUIT COURT :                     MILWAUKEE COUNTY
---------------------------------------------------------------------------------------------------------------------
ADAM J. VARELAS and
MICHELLE VARELAS                                                        Case No.


                  Plaintiffs,                                           Personal Injury-Other: 30107
        vs.
CROWN EQUIPMENT CORPORATION
a foreign corporation

ABC INSURANCE COMPANY
a fictitious corporation,

CROWN LIFT TRUCKS

DEF INSURANCE COMPANY
a fictitious corporation,

ILLINOIS NATIONAL INSURANCE COMPANY
a Wisconsin corporation


                  Defendants.
---------------------------------------------------------------------------------------------------------------------
                PLAiNtIFFS' FIRST SET OF WRITTEN INTERROGATORIES TO
   DEFENDANTS CROWN EQUIPMENT CORPORATION AND CROWN LIFT TRUCKS
---------------------------------------------------------------------------------------------------------------------

TO:      CROWN EQUIPMENT CORPORATION
         do CT Corporation System
         8020 Excelsior Dr., Ste. 200
         Madison, WI 53717

         and

        CROWN LIFT TRUCKS
        5150 S. TowneDr.
        New Berlin, WI 53151




          Case 2:17-cv-00869-JPS Filed 06/22/17 Page 38 of 53 Document 1-1
               Plaintiffs, Adam J. Varelas and Michelle Varelas, by their attorney, Timothy S. Trecek of

    Habush Habush & Rottier, hereby request, pursuant to Wisconsin Statute 804.08 that the

    defendants, Crown Equipment Corporation ("Crown Equipment") and Crown Lift Trucks

    ("Crown Lift"), answer Plaintiffs' First Set of Written Interrogatories in writing, under oath, within

    forty-five (45) days of service.

                                               DEFINITIONS

                      "Documents" refers to everything within the scope of Wis. Stat. 804.09.

                      "Defendant" or "Crown Equipment " or "Crown Lift" refers to all of its

    employees, agents and servants, any division or group of Crown Equipment or Crown Lift, any

    subsidiaries, any affiliated or associated companies, and all employees, agents and independent

    contractors associated with any of these entities.

                     "Hazard" refers to any condition or any changing set of circumstances which

    present an injury potential. The defendant's response to an inquiry employing this term shall not

-   be deemed to constitute an admission that such hazard does in factexist.           -----

                     "Other Incidents; Other Similar Incidents." Whenever either of these phrases

    is employed, it is intended to refer to any other incident which involved a Crown stand- up electric

    forklift where an allegation occurred that the brakes or plugging operation on the forklift failed to

    operate.

                     "Path of Distribution." Whenever this phrase is employed, it is intended to refer

    to the movement of said product in terms of time and geography, beginning at the time and place

    at which it was first assembled and manufactured as a completed product or a finished product and

    ending at the location where it becomes sold to a consumer.




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           F.    "Subject Forklift." This phrase is intended to refer to the Crown RC series stand-

up forklift in which the plaintiff was operating at the time of the subject accident. It is intended

that said term shall be construed to include each and every component of said product

        G.      "Quality Assurance." This phrase is intended to refer to any and all efforts

(including, but not limited to studies, tests, inspections, examinations) and other activities

conducted by or on behalf of the defendant for the purpose of ascertaining whether or not a finished

product conforms to the design objectives or design criteria for that product.


-   - - -H..    "Test(s)." This word is intended to refer to any test(s) made by or on behalf of the
Defendant or test(s) made by some other person, firm or corporation to which the Defendant
referred in selecting the design that was adopted by the Defendant for said product (or any
subsequent change thereto) or in the course of the investigation of said incident. The word test(s)
includes static and dynamic tests, whether involving models or full size components, and
computer-simulated testing.
                                       INTERROGATORIES


        INTERROGATORY NO. 1: Identify all witnesses from whom the defendant or any of its

representatives have obtained written or recorded statements, and the custodians of such

statements.

        INTERROGATORY NO. 2: Identify all agents, servants, or employees of the defendant

who participated in any manner in the investigation of the claim which is the subject matter of this

lawsuit.

        INTERROGATORY NO. 3: Identify each corporate standard, specification or

requirement, industry standard or custom, governmental standard, code, specification or regulation

pertaining to the subject forklift, including, but not limited to its circuitry.




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      INTERROGATORY NO. 4: Identify the person or persons currently employed by you

most knowledgeable concerning the following:

               The design, development, testing and marketing of the subject forklift and its

               components.

               Safety devices which were incorporated into the design of the subject forklift

               related to the circuitry, braking and plugging.

               Safety hazards in the use of the subject forklift which were considered by you

               related to braking and plugging.

               Communications between Crown Equipment and its dealers and distributors

               regarding its RC 3000 series stand-up forklifts.

               Communications between Crown Lift and its end-users regarding its RC 3000

               series stand-up forklifts.

      1)       Communications between Crown Equipment and Crown Lift pertaining to the

               subject forklift.

  -   g) - Communications between Crown Lift and Sam's Club, 1540 S. 108th Street, West

               Allis, WI 53214, related to the repairs and maintenance of the Crown forklifts at

               that location. -

               Communications between Crown Equipment and Sam's Club, 1540 S. 108th Street,

               West Allis, WI 53214, related to Crown forklifts at that location.

               Reported claims of injuries allegedly resulting from use of Crown stand-up

               forklifts.

               Customer complaints regarding Crown stand-up forklifts.

               State of the art in design of the circuitry of stand-up forklifts.




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       INTERROGATORY NO. 5: Identify each engineer or consultant who evaluated any of

your RC 3000 series stand-up forklifts to determine any potential for causing injury it may have,

including, but not limited to, the potential for the malfunction of the braking or plugging system.

       INTERROGATORY NO. 6: Identify by name and address the corporate entity which is

legally responsible for the liabilities, if any, of Crown Equipment, for personal injuries sustained

in November, 2015, for claims such as those made in plaintiffs' complaint.

        INTERROGATORY NO. 7: Identify by name and address the corporate entity which is

legally responsible for the liabilities, if any, of Crown Lift, for personal injuries sustained in

November, 2015, for claims such as those made in plaintiffs' complaint.

       Dated this3 day of May, 2017.

                                                     HABUSH HABUSH & ROTTIER S.C.®
                                                     Attorneys for Plaintiffs



                                                     IiZhy S. e7                    '
                                                     State BarNo. 1021161
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STATE OF WISCONSIN :                         CIRCUIT COURT :                     MILWAUKEE COUNTY
---------------------------------------------------------------------------------------------------------------------
ADAM J. VARELAS and
MICHELLE VARELAS                                                        Case No.


                  Plaintiffs,                                           Personal Injury-Other: 30107

        vs.
CROWN EQUIPMENT CORPORATION
a foreign corporation

ABC INSURANCE COMPANY
a fictitious corporation,

CROWN LIFT TRUCKS

DEF INSURANCE COMPANY
a fictitious corporation,

ILLiNOIS NATIONAL INSURANCE COMPANY
a Wisconsin corporation


                  Defendants.

---------------------------------------------------------------------------------------------------------------------
          PLAINTIFFS' FIRST REQUEST FOR PRODUCTION OF DOCUMENTS TO
   DEFENDANTS CROWN EQUIPMENT CORPORATION AND CROWN LIFT TRUCKS
---------------------------------------------------------------------------------------------------------------------

TO:      CROWN EQUIPMENT CORPORATION
        do CT Corporation System
        8020 Excelsior Dr., Ste. 200
        Madison, WI 53717

        and

        CROWN LIFT TRUCKS
        5150 S. Towne Dr.
        New Berlin, WI 53151


        Plaintiffs, Adam J. Varelas and Michelle Varelas, by their attorney, Timothy S. Trecek of

Habush Habush & Rottier, hereby request, pursuant to Wisconsin Statute 804.09 that the

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       defendants, Crown Equipment Corporation ("Crown Equipment") and Crown Lift Trucks

       ("Crown Lift") produce and permit inspection and/or copying of the following described

       documents within forty-five (45) days of service. In lieu of said production, copies of the requested

       documents may be provided to plaintiffs' counsel at the law offices of Habush Habush & Rottier

       S.C.®, 777 East Wisconsin Avenue, Suite 2300, Milwaukee, WI 53202 within forty-five (45) days

       of service hereof.

                                              DEFINITIONS

                       "Documents" refers to everything within the scope of Wis. Stat. 804.09.

                       "Defendant" or "Crown Equipment " or "Crown Lift" refers to all of its

       employees, agents and servants, any division or group of Crown Equipment or Crown Lift, any

       subsidiaries, any affiliated or associated companies, and all employees, agents and independent

       contractors associated with any of these entities.

                      "Hazard" refers to any condition or any changing set of circumstances, which

- --   present an injury potential.- The defendant's response to an inquiry employing this term shall not -

       be deemed to constitute an admission that such hazard does in fact exist.

                      "Other Incidents; Other Similar Incidents." Whenever either of these phrases

       is employed, it is intended to refer to any other incident, which involved a Crown stand- up electric

       forklift where an allegation occurred that the brakes or plugging operation on the forklift failed to

       operate.

                      "Path of Distribution." Whenever this phrase is employed, it is intended to refer

       to the movement of said product in terms of time and geography, beginning at the time and place

       at which it was first assembled and manufactured as a completed product or a finished product and




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ending at the location where it becomes sold to a consumer.

               "Subject Forklift." This phrase is intended to refer to the Crown RC series stand-

up forklift in which the plaintiff was operating at the time of the subject accident. It is intended

that said term shall be construed to include each and every component of said product

               "Quality Assurance." This phrase is intended to refer to any and all efforts

(including, but not limited to studies, tests, inspections, examinations) and other activities

conducted by or on behalf of the defendant for the purpose of ascertaining whether or not a finished

product conforms to the design objectives or design criteria for that product.


               "Test(s)." This word is,intended to refer to any test(s) made by or on behalf of the
Defendant or test(s) made by some other person, firm or corporation to which the Defendant
referred in selecting the design that was adopted by the Defendant for said product (or any
subsequent change thereto) or in the course of the investigation of said incident. The word test(s)
includes static and dynamic tests, whether involving models or full size components, and
computer-simulated testing.



                                             REOUESTS

       REQUEST NO. 1: All applicable insurance policies, including umbrella and excess

policies. This request encompasses each entire policy, including declaration or face sheets

showing the policy limits of each policy.

          QUESTNQ. 2: Organizational charts showing Crown Equipment's and Crown

Lift's corporate structure(s) for the time-period from when the Defendant first manufactured an

RC 3000 series stand-up forklift through December 31, 2015.

       REOUEST NO. 3: Organizational charts showing that part of Crown Equipment's

                                                 3
         Case 2:17-cv-00869-JPS Filed 06/22/17 Page 45 of 53 Document 1-1
          organization and the individuals who participated in the design, development, research, and testing

          of Crown's RC 3000 series stand-up forklift through December 31, 2015.

                 REQUEST NO. 4: Organizational charts showing that part of Crown Equipment's

          organization and the individuals who participated in the sale, leasing, advertising, and marketing

          of Crown's RC 3000 series stand-up forklifts through December 31, 2015.

                 REQUEST NO. 5:         Copies of all documents, including legal complaints, consumer

          complaints, memos, reviews, internal reports, correspondence, and/or communications from

          industry organizations, consumer groups, attorneys, insurance companies, or governmental

          regulatory agencies, received by Crown Equipment or Crown Lift, relating to claimed injuries to

          operators or bystanders where an allegation was made of failed braking or failed plugging with a

          stand-up forklift which uses the same circuitry for its braking and plugging as used in the subject

          forklift, excluding documentation protected by the attorney/client privilege.

                 REQUEST NO. 6: All corporate standards, specification or requirements, industry
-   - --standards or custom, governmental standards,- codes, specifications or regulations; applicable to -

          the subject forklift you contend were complied with, in the design and manufacture of the Crown

          RC 3000 series stand-up forklifts.

                 REQUEST NO. 7: All Crown Equipment internal standards, regulations, policies and

          procedures, applicable to the subject forklift you contend were complied with, in the design and

          manufacture of the Crown RC 3000 series stand-up forklifts.

                 REQUEST NO. 8: All documents (specifically including but not limited to, blueprints,

          engineering layouts, schematics, drawings or detail diagrams, drawing revisions, specifications,

          and corporate standards or requirements), for the RC 3000 series stand-up forklifts, including but


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        not limited to its circuitry.

                REOUEST NO. 9: For those RC 3000 stand-up forklifts which post-date the subject

        forklift, and which incorporate circuitry different than the subject forklift's circuitry, produce all

        documents (specifically including but not limited to, blueprints, engineering layouts, schematics,

        drawings or detail diagrams, drawing revisions, specifications, and corporate standards or

        requirements), including but not limited to its circuitry.

                REOUEST NO. 10: All Failure Mode and Effects Analysis, hazard analysis, or similar

-       documents by any other name, created to address potential hazards related to the Crown Equipment - -

        RC 3000 series stand-up forklifts.

                REQUEST NO. 11: Documents (including videotapes, photographs, slides or motion

        pictures) generated due to testing and performance for the RC 3000 series stand-up forklift, and

        which are applicable to the subject forklift.

                REQUEST NO. 12: The index or catalog (including any computerized index or catalog)

    -   of Crown Equipment's testing condicted on the RC 3000 series stand-up forklifts, from when

        Crown Equipment first manufactured the RC 3000 series forklifts through the present.

                REQUEST NO. 13: Documents regarding the contemplation, rationale, feasibility,

        and/or performance of alternative designs of the RC 3000 series stand-up forklift circuitry.

                REQUEST NO. 14: All documents regarding Crown Equipment's and Crown Lift's

        quality assurance procedures, including any and all examinations, inspections, and tests, whether

        static or dynamic, done in part to confirm that the finished forklift complied with the design criteria

        and/or specifications.

                REOUEST NO. 15:         All videotapes, photographs, slides or motion pictures and test

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     reports created during the development of the RC 3000 series forklift.

             REOUEST NO. 16: All advertising or promotion material of Crown Equipment's RC

     3000 series stand-up forklifts marketed through the present.

             REQUEST NO. 17: All technical articles or reports written by Crown Equipment or

     Crown Lift's personnel, which relate to the circuitry of stand-up forklifts.

             REQUEST NO. 18: The operator's manual for the subject forklift.

             REQUEST NO. 19: The service manual for the subject forklift.
--     -     REQUEST NO. 20: The operator's manual for each RC 3000 series stand-up forklift, -

     which post-dates the subject forklift.

             REQUEST NO. 21: The service manual for each RC 3000 series stand-up forklift, which

     post-dates the subject forklift.

             REQUEST NO. 22: All documents relating to applications for patents and/or each patent

-    issued or assigned to Crown Equipment orany of its employees relating to RC 3000 series stand-

     up forklifts, or any component thereof.

             REQUEST NO. 23: All warnings provided by or on behalf of Crown Equipment to the

     purchasers of its RC 3000 series stand-up forklifts from the date first sold up to December 31,

     2015.

             REQUEST NO. 24: Documents reflecting any changes, alterations, or modifications to

     the RC 3000 series stand-up forklift from the time it was firs designed until present, with respect

     to any of the following

                                    performance specifications;
                                    design objectives;



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                C.              design criteria;
                                actual design;
                                construction/manufacture/assembly;
                                quality assurance;
                                use instructions;
                                circuitry;
                                warnings.

        REOUEST NO. 25:         All engineering change requests, engineering change notices, and

engineering change orders applicable to the subject forklift.

        REQUEST NO. 26: All engineering change requests, engineering change notices, and

engineering change orders applicable to the subject forklift.

        REQUEST NO. 27: Documents reflecting the path of distribution of the subject forklift.

        REOUEST NO. 28: All documents reflecting any recall of the RC 3000 series stand-up

forklifls involving the electronic circuitry.

        REQUEST NO. 29: Documents reflecting where, when and by whom the subject forklift

was designed, manufactured, assembled, tested, leased, sold.

        REOUEST NO. 30: Documents reflecting the model name, model number, and years

sold, for each RC 3000 series stand-up forklift model manufactured and/or marketed by Crown

Equipment.

        REQUEST NO. 31: All meeting minutes from committee(s) associated with the subject

areas described below as they pertain to the RC 3000 series stand-up forklifts, from the time-period

when Crown Equipment first manufactured the RC 3000 series forklift through December 31,

2015:




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                                     Product Development;
                                     Product Standards;
                                     Testing;
                                     Quality Assurance;
                                     Manufacturing;
                                     Sales.

        REQUEST NO. 32: Documents that describe your document retention policy in effect as

of calendar year 2015.

        REQUEST NO. 33: Documents which identify by year, the number of RC 3000 series

forklifts manufactured, which incorporate the same circuitry as the subject forklift.

        REQUEST NO. 34: Documents which set forth the per unit cost to Crown Equipment to

manufacture the subject forklift.

        REQUEST NO. 35:         Documents which set forth the retail cost for the subject forklift

when new.

        REQUEST NO. 36: All lease agreements, or sales documents, pertaining to the subject

forklift.

        REQUEST NO. 37: All lease agreements, or sales documents, pertaining to each Crown

forklift, which was at Sam's Club, 1540 S. 108th Street, West Allis, WI 53214, as of November 4,

2015.

        REQUEST NO. 38: All service, repair, maintenance records for the subject forklift.

        REQUEST NO. 39: All service, repair, maintenance records pertaining to each Crown

forklift which was at Sam's Club, 1540 S. 108th Street, West Allis, WI 53214, as of November 4,

2015.

        REQUEST NO. 40: All records in your possession or available to you, including but not

limited to, bills of sale, purchase orders, invoices, and shipping documents, pertaining to the

original sale and shipment, or lease, of the subject forklift.
                                                   It]
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        REQUEST NO. 41: Documents which identify each and every identification number listed

on the subject forklift, including those for the circuitry boards. (I.e. model number, serial number,

patent number, etc.).

        REQUEST NO. 42: All warranty records in your possession or available to you relating to

the subject forklift.

        REQUEST NO. 43: All photographs and videotapes of the subject forklift taken by you or

your representatives at any time.

        REQUEST NO. 44: All service bulletins applicable to the subject forklift.

        REQUEST NO. 45: Copies of all statements taken from any parties orwitnesses to the

accident in question or persons who have knowledge of the accident or injuries or damages

sustained or claimed by the plaintiff.

        REQUEST NO. 46: All instruction sheets, manuals, and any other written material, which

accompanied the subject forklift at the time it left the possession of Crown Equipment and Crown

Lift.

        REQUEST NO. 47: All patents applicable to the subject forklift.

        REQUEST NO. 48: All communications between you and any of your distributors or

dealers of RC 3000 series stand-up forklifts related to reported problems involving braking or

plugging on this forklift series.

        REQUEST NO. 49: All documents generated, including tests and test reports, as a result

of Crown Equipment's and Crown Lift's testing and/or evaluation of the electrical circuitry, which

controls braking, and plugging in the RC 3000 series stand-up forklifts.

        REQUEST NO. 50: All communications between Crown Equipment and Crown Lift

related to the subject forklift at any time.




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       REOUEST NO. 51: All internal memoranda and/or procedural manuals which describe

those procedures to be taken to implement any accident reporting system instituted by you to

inform you of injuries sustained by persons using Crown Equipment products.

       REOUEST NO. 52: Produce each indemnity agreement between you and any other entity,

which may be applicable to the subject incident.

       Dated at Milwaukee, Wisconsin this.S y of May 2017.


                                              HABUSH HABUSH & ROTTIER S.C.®
                                              Attorneys for Plaintiffs


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